             Case 2:20-cv-01362-MJP Document 55-1 Filed 10/08/21 Page 1 of 3




 1                                                                        The Honorable Marsha J. Pechman

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 7
                           IN THE UNITED STATES DISTRICT COURT
 8                       FOR THE WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
 9
       NORTHWEST ENVIRONMENTAL
10     ADVOCATES, an Oregon non-profit
       corporation,                                            NO. 20-cv-01362-MJP
11
12                              Plaintiff,
                                                               SECOND DECLARATION OF LIA
13            v.                                               COMERFORD
14     UNITED STATES
15     ENVIRONMENTAL PROTECTION
       AGENCY,
16
                                Defendant.
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                                             Earthrise Law Center                Bricklin & Newman, LLP
                                             Lewis & Clark Law School                   Attorneys at Law
                                             10101 S. Terwilliger Blvd.           1424 Fourth Avenue, Suite 500
     SECOND COMERFORD                           Portland, OR 97219                      Seattle WA 98101
     DECLARATION                                Tel. (503) 768-6823                    Tel. (206) 264-8600
     Case No. 20-cv-01362-MJP                  Fax: (503) 768-6642                     Fax. (206) 264-9300
              Case 2:20-cv-01362-MJP Document 55-1 Filed 10/08/21 Page 2 of 3




 1   I, LIA COMERFORD, declare the following:

 2           1.      I am one of the attorneys representing Northwest Environmental Advocates in this
 3
     litigation.
 4
             2.      Attached to this declaration as Exhibit A is a true and correct copy of EPA’s April
 5
     30, 2013 letter denying the petition at issue in the case WildEarth Guardians v. EPA, Case No. 13-
 6
     1212 (D.C. Cir. June 27, 2014). Also included in the exhibit are two additional documents filed in
 7
 8   that case as part of the Joint Appendix regarding EPA’s Office of Air Quality Planning and

 9   Standard’s budget and staff information and workload. I retrieved these documents from the
10   publicly-available docket for this case.
11
             3.      Attached to this declaration as Exhibit B is a true and correct copy of the U.S. Food
12
     and Drug Administration’s August 28, 2013 letter denying the petition at issue in the case
13
     Compassion Over Killing v. FDA, Case No. 3:13-cv-01385 (N.D. Cal. Mar. 28, 2013). I retrieved
14
15   this document from the publicly-available docket for this case.

16           4.      Attached to this declaration as Exhibit C is a true and correct copy of EPA’s July

17   29, 2011 letter denying the petition at issue in the case Gulf Restoration Network v. Jackson, Case
18   No. 2:12-CV-00677 (E.D. La. Mar. 3, 2012). I retrieved this document from the publicly-available
19
     docket for this case.
20
             5.      Attached to this declaration as Exhibit D is a true and correct copy of EPA’s March
21
     2011 Framework Memo titled “Working in Partnership with States to Address Phosphorus and
22
23   Nitrogen Pollution through Use of a Framework for State Nutrient Reductions.” I retrieved this

24   document from the publicly-available docket for the Gulf Restoration Network v. Jackson case,

25   see supra ¶4.
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             6.      Attached to this declaration as Exhibit E is a true and correct copy of the


                                                Earthrise Law Center          Bricklin & Newman, LLP
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             Case 2:20-cv-01362-MJP Document 55-1 Filed 10/08/21 Page 3 of 3




 1   Washington Department of Ecology’s Surface Water Quality Standards Triennial Review Results-

 2   Five-Year Plan (August 2011). I retrieved this document via a hyperlink included in the attachment
 3
     to EPA’s motion for summary judgment. See Dkt. 54-2 at 5. The hyperlink is:
 4
     https://ecology.wa.gov/DOE/files/37/3761607d-3390-418a-8684-118c959fc676.pdf (last visited
 5
     Oct. 7, 2021).
 6

 7
            Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the
 8
     United States of America that the foregoing is true and correct.
 9
10          Executed this 8th day of October, 2021.
11
12                                               By:            s/ Lia Comerford
                                                                Lia Comerford, WSBA No. 56447
13                                                              Lewis & Clark Law School
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